Case 18-30849 Document 40-1 Filed in TXSB on 04/19/18 Page 1 of 6

;%1 §)§31'1'19%';: ST.l 4Ti-t FLOOR F'REllliiUN| FlNANCE AGREE|V|ENT iPFS CORPORATEON
KANsAs cnY, mo 64141-6090

(aooizss-sais FAx: ¢8151942~0475

cusrousn ssnvicez rosenn-2561

A §CASH PRICE § $3,484.00§ AGENT §lNSURED

§(TOTAL. PREN|IUMS) § Z(Name & Piace of business) €(Name & Resldence or business)
- --- - - -- §§ 'MAJORAWARD|NC :Bendcolnc

B §CASH DOWN § $2,402.24§ EDBA cOAsTAt_ enoue a ASSOC|ATEs

t §pAYMENT 2111 RiVERStDE DR ;801 Houston Ave

§ §pRiNC|pAL BALANCE $5’031_75§ LEAGUE CiTY,TX 7?573 §Pasadena, TX 77502

C (A N"NUS B) (713)927-3635 F/-\XI (832)864~2525

Cornrnerciai

 

 

 

 

 

Account#: LOAN D|SCLOSURE Quote Number; 7290191
ANNuAL PERcENTAoE RATE FiNANcE ci-iARcE A`MouNT`i=r"NANch §ToTAL or `P`Ayi\iii`~:nr`s
Th@ cost of your Credit 35 3 yearly rare_ The dollar amount the credit witt The amount ofcreciit provided to §The amount you will have paid after you
cost you. you or on your behalf. §have made ali payments as scheduled
13. 160% $372.84 $6,081.76§ $6,454.60
YouR PAYMENT scHEouLE wlLL ss § nemizAnon cs sue mount FiNANcso; ms

_, l l . .. .. . . AMouNT FlNANch ls ron APPL:cAnoN To THE
member or Paymems Amount of Payments :Wh@n Pavmevfs PnEMluMs ser scant ns THE scHEouLE or

§Are five _ _ MONTH[_Y; eol_lcies useless oTuEnwisE NoTED.

19 $545-45 B°-°J‘"“’“g:§ 041201201 ai

 

 

 

 

Security:Refer to paragraph 1 below for a description of the coiiaterat assigned to l.encier to secure this ioan.

i.ate Charges: A late charge will be imposed on any installment in defautt 10 days or more This late charge wi|i be 5.00% of the installment due.
Prepayment: tfyou pay your accounton eariy. you may be entitled to a refund cfa portion of the finance charge in accordance with Rule of 78's. See
the terms below and on the next page for additional information about nonpayment, default and penalties
; scu_sbui__-_E o__F _P-ol_'_ictas_-.r "
.iNSURANq_E_. __

   
   
 

  
  

_._.p_'____mm:_
antenna _: _ _ __

     
      

' moses

 

iPENDiNG 03/20/2018 suRuNeroN'leuRANcEco(THE} § : "GENERAL

|FG CON|F'AN|ES i i_lABlL|TY z § Fee: 375.{}0

MY_RON F STEVES & CO ` :_ _ __ 1 ¢ Tax: 404.00
Broker Fee: $0.00
TOTAL.I $8,484.00

 

 

 

 

The undersigned insured directs |P§-“S Corporation (herein. "Lender") to pay the premiums on the policies described on the Schedule cf Po|icies. in consideration
ot such premium payments, sub§ect to the provisions set forth herein. the insured agrees to pay Lender at the branch office address shown above, or as
otherwise directed i)y i_ender. the amount stated as Total ot Payrnants in accordance with the Payment Schedute. in each case as shown in the above Loan
Disc§osure. The named insured(s), on a joint and several basis if more than onel hereby agree to the following provisions set forth on pages 1 and 2 of this
Agreement: 1. SECUR|TY: To secure payment of atl amounts due under this Agreernent, insured assigns Lender a security interest in alt rlght, title and interest
to the scheduted policies. including (but only to the extent permitted by applicable law}: (a) all money that is or may be due insured because ot a loss under any
such policy that reduces the unearned premiums (subject to the interest of any applicable mortgagee or ioss payee), (b} any unearned premium under each such
poiicy. (c) dividends which may become due insured in connection with any such policy and (d) interests arising under a state guarantee fund. 2. POWER OF
ATTORNEY: insured irrevocably appoints its Lender attorney»in~fact witn full power of substitution and full authority upon default to cancel ali poiicies above
identified, receive alt sums assigned to its Lender or in which it has granted Lender a security interest and to execute and deliver on behalf ofthe insured
documents, instruments, forms and notices relating to the iisted insurance poiicies in furtherance of this Agreement.

NOTICE: A, Do not sign this agreement before you read it or if lt

contains any blank space. B. You are entitled to a completely fitted in The undersigned hereby warraan and agrees to Agem's
copy of this agreement C. Under the lawl you have the right to pay in Represemarions get forth herein

advance the fuii amount due and under certain conditions to obtain a

partial refund of the finance charge. D. Keep your copy of this

agreement to protect your legal rlghts.

 

 

Stgnature of insured or Authorized Agent DATE Signature of Agent DATE

(10/17) Copyi’ight 2017 |F’FS Corporation““ Page ‘i of 2 4/9/2018 Web - TXC

 

Case 18-30849 Document 40-1 Filed in TXSB on 04/19/18 Page 2 of 6

insured and Lender further agree that: 3. POLlCY EFFECT|VE DATES: The finance charge begins to accrue from each policy effective date or the date on which

Lender made payment to the insurer for the financed poiicy, whichever ts earlier.

4. AGREElVIENT EFFECT|VE DATE: This Agreemenl shall be effective upon the earlier of( (a) the date when written acceptance is mailed to the insured by
Lender and (b} three working days following t_ender's receipt cfa property signed and completed Agreement unless such Agreement has been returned by
Lender to the agent/broker within such periodl 5. DEFAULT AND DELiNQUENT PA¥MENTS: if any of the following happens insured will be in default: (a) a
payment is not made when it is due. (b} a proceeding in bankruptcy. receivership, insolvency or similar proceeding is instituted by or against insured, or (c)
insured fails to keep any promise the insured makes in this Agreement; provided, however, lhat, to the extent required by applicable law, insured may be held to
be in deiauit only upon the occurrence of an event described in clause (a) above. The acceptance by Lender of one or more late payments from the insured shall
not estop Lender or be a waiver ofthe rights of Lender to exercise all of its rights hereunder or under appiicable law in the event of any subsequent late paymentl
6. CANCELLAT|ON: Lender may cancel the scheduled policies after providing at least 10 days notice of its intent to cancel or any other required statutory notice
if the insured does not pay any installment according to the terms ol this Agreemenl or transfers any of the scheduled policies to a third party and the unpaid
balance due to Lender shall be immediately due and payable by the insured. Lender at its option may enforce payment of this debt without recourse to the

security given to Lender. 7. CANCELLAT|ON CHARGES: lt cancellation occurst the insured agrees to pay a finance charge on the outstanding indebtedness at
the maximum rate authorized by applicable state law in effect on the date of cancellation until the outstanding indebtedness is paid in full or until such other date

as required by |aw. El. iNSUFFiCiENT FUNDS (NSi-“) CHARGES: if lnsured's check or electronic funding is dishonored for any reason, the insured wiil pay to

Lender a fee ol$St).Ol) or the maximum amount permitted by law. 9. ililONEY RECE|VED AFTER CANCELLAT|ON: Any payments made to Lender after
Lender's Notice of Canceiiation ofthe insurance policy(ies) has been mailed may be credited to the insured‘s account without any obligation on the part of Lender
to request reinstatement of any poiicy. Any money i_ender receives from an insurance company shall be credited to the balance due Lender with any surplus
refunded to whomever is entitled to the money. in the event that Lender does request a reinstatement of the policy(ies) on behalf ot the insured. such a request
does nol guarantee that coverage under the potlcy(ies) will be reinstated or continuedl Oniy the insurance company has authority to reinstate the policy(ies}. The
insured agrees that Lender has no liability to the insured if the potlcy(ies} is not reinstated and Lender may charge a reinstatement fee where permitted up to the
maximum amount allowed by law. 10. ASSiGNMi-INT: The insured agrees not to assign this Agreement or any policy listed hereon or any interest therein {except
forthe interest of mortgagees or loss payees), without the written consent ot Lender. and that Lender may sell, transfer and assign its rights hereunder or under
any policy without the consent of the insured, and that all agreements made by the insured hereunder and ali rights and benehts conferred upon Lender shaft
inure to the benefit of Lender's successors and assigns (and any assignees thereof). 11. lNSURANCE AGENT OR BROKER: The insured agrees that the
insurance agent or broker soliciting the policies or through whom the policies were issued is not the agent of Lender; and the agent or broker named on the front
of this Agreement is neither authorized by Lender to receive installment payments under this Agreement nor to make representations orally or in writing, to the
insured on Lender's behalf (except to the extent expressly required by applicable law}. As and where permissible by lawl Lender may compensate your
agentibroker for assisting in arranging the financing of your insurance premiums. if you have any questions about this compensation you should contact your
agent/broken 12. FtNANC|NG NOT A COND|T|ON: The law does not require a person to enter into a premium finance agreement as a condition ofthe purchase
of insurancel 13. COLLECT|ON COSTS: insured agrees to pay attorney fees and other coiiection costs to Lender to the extent permitted by law if this Agreement
is referred to an attorney or collection agency who is not a salaried employee ot Lender, to collect any money insured owes under this Agreement. (Not
appiicab|e in KY) 14. L|iliilt'ATiON OF L|ABlLlTY: The insured agrees that Lender's liability to the lnsured, any other person or entity for breach of any ofthe
terms of this Agreement for the wrongful or improper exercise of any ot its powers under this Agreement shall be limited to the amount of the principai balance
outstanding. except in the event of Lender' gross negligence or willful misconduct (not applicable in KY). insured recognizes and agrees that Lender is a tender
only and not an insurance company and that in no event does Lender assume any liability as an insurer hereunder or otherwise 15. CLASS|F|CAT|ON AND
FORMATION OF AGREEMENT: `t'his Agreement is and witt be a generai intangible and not an instrument (as those terms are used in the Uniform Commercial
Code) for all purposes Any eiectronic signature or electronic record may be used in the formation olthis Agreement, and the signatures of the insured and agent
and the record of this Agreement may be in eiectronic form (as those terms are used in the Uniform Etectronic Transactions Act). A photocopy, a facsimile or
other paper or electronic record of this Agreement shall have the same legal effect as a manually signed copy. 16. REPRESENTATEONS AND WARRANTiES:
The insured represents that (a) the insured is not insolvent or presently the subject of any insolvency proceeding (or it the insured is a debtor of bankruptcy. the
bankruptcy court has authorized this transaction), (b) ifthe insured is nolan individual, that the signatory is authorized to sign this Agreement on behallof the
insured, (c} all parties responsible for payment of the premium are named and have signed this Agreement. and (d) there ls no term or provision in any of the
scheduled policies that would require tender to notify or get the consent of any third party to effect cancellation ofany such policy. 17. ADDlTlONAL PREiiiliUilii
FiNANClNG: insured authorizes Lender to make additional advances under this premium finance agreement at the request of either the insured or the insured's
agent with the lnsured's express authorization, and subject to the approval of Lender, for any additional premium on any poiicy listed in the Schedule of Poiicies
due to changes in the insurable risk. lt Lender consents to the request for an additional advance. Lenderwiti send insured a revised payment amount ("Revised
Payment Amount"). insured agrees to pay the Ftevised Payment Amount. which may include additional unance charges on the newly advanced amount, and
acknowledges that Lender will maintain its security interest in the Poiicy with full authority to cancel all policies and receive all unearned premium if insured fails
to pay the Rev|sed Payrnent Amount. 18. PR|VACY: Our privacy policy may be found at htlps:ilwww.ipis.com)'Privacy.aspx. 19. ENTlRE DOCUMENT!
GOVERN|NG LAW: This document is the entire Agreement between Lender and the insured and can only be changed in writing and signed by both parties
except that the insured authorizes Lender to insert or correct on this Agreement, if omitted or incorrect. the insurer‘s name and the policy number(s). Lender is
also authorized to correct patent errors and omissions in this Agreement. in the event that any provision ofthls Agreement is found to be illegal or unenforceab|e,
it shall be deemed severed from the remaining provisions. which shall remain in full force and effect The laws ofthe State of Texas will govern this Agreement.
20. AUTHOR!ZAT|ON: The insurance company(ies) and their agents, any intermediaries and the agent l broker named in this Agreement and their successors
and assigns are hereby authorized and directed by insured to provide Lender with full and complete information regarding all financed insurance policy(ies),
including without limitation the status and calculation of unearned premiums, and Lender ls authorized and directed to provide such parties with full and complete
information and documentation regarding the Hnancing of such insurance policy(ies), including a copy of this Agreement and any related notices. 21. WAiVER OF
SOVERiGN lill'lilllUNlTY: The insured expressly waives any sovereign immunity available to the insured. and agrees to be subiect to the laws as set forth in this
Agreement tend the jurisdiction of federal and/cr state couns) for atl matters relating to the collection and enforcement cf amounts owed under this Agreement
and the security interest in the scheduled policies granted hereby.

AGENTIBROKER REPRESENTAT!ONS
The agent/broker executing this, and any futurel agreements represents warrants and agrees: (1) installment payments totaling $M and atl applicable down
payment(s) have been received from the insured in immediately available funds, (2) the insured has received a copy of this Agreement; it the agentibroker has
signed this Agreement on the insured's behaifl the insured has expressly authorized the agentlbroker to sign this Agreement on its behalfor, if the insured has
signed, to the best of the undersigned's knowledge and beiief such signature is genuine. (3) the policies are in fuil force and effect and the information in the
Schedule of Policies including the premium amounts is correct, (4) no direct company bili, audit. or reporting form policies or policies subject to retrospective
rating or to minimum earned premium are lnciuded. except as indicated, and the deposit of provisional premiums is not less than anticipated premiums to be
earned for the full term of the poitcies, {5) the policies can be canceiled by the insured or tender (or its successors and assigns) on 10 days notice and the
unearned premiums will be computed on the standard short rate or pro rata table except as indicated. (6) there are no bankruptcy. receivership, or insolvency
proceedings affecting the insured. (7) to hold Lender, its successors and assigns harmiess against any loss or expense (inciudlng attorney fees) resulting from
these representations or from errors. omissions or inaccuracies of agent/broker in preparing this Agreement, {8) to pay the down payment and any funding
amounts received from Lender under this Agreement to the insurance company or general agent (less any commissions where applicab|e), (9) to hold in trust tor
Lender or its assigns any payments made or credited to the insured through or to agent/broker directly or indirectiy, actuaiiy or constructively by the insurance
companies and lo pay the monies. as well as the unearned commissions to Lender or its assigns upon demand to satisfy the outstanding indebtness ofthe
insured, (10) atl matertai information concerning the insured and the tinanced policies necessary for Lender to cancel such policies and receive the unearned
premium has been disclosed to Lender. (11) no term or provision of any financed policy requires Lender lo notify or get the consent of any third party to effect
cancellation of such policy. and (12) to promptly notify Lender in writing if any information on this Agreement becomes inaccurate.

(10/17) Copyright 2017 tF’FS Corporation"“' Page 2 of 2 41'9/2018 Web - TXC

 

 

 

Case 18-30849 Document 40-1 Filed in TXSB on 04/19/18 Page 3 of 6

301WEST11TH ST-, 4TH FLOOR PREiiliiUM F|NANCE AGREEN|ENT lPFS CORPORAT|ON
PO BOX 419090

KANSAS ClTY, lll'lO 64141-6090
(80|3)255-8316 FAX: (816)942-0475
CUSTON|ER SERV|CE: (866)412-2561

   

 

 

 

 

 

§§_A §oAsi-i PRicE $30,467.35§ Aseivr " n ' ' ' §iNsunEo
(TOTAL §PRE§M§|UN|S) §(Name & F‘lace of business) §{Name & Residence or business)
§ .MAJOR AWAF<o inc mention inc
§B §CASH DOWN § $8,324.73§ -oaA coAsTAi_ enouP a AssooiA“res
§PAYMENT :21tt RlVERSiDE DR §801 i-iouston Ave
C§ §pR|NC¢pAL BA§_ANCE _ $22,143,12§ LEAouE cirY,rx 77573 §Pasauena, Tx 77502
§(A M|NUS B) (713)927-3635 Fsz (332)364-2525 §
Cornrnerciat
Account #: LOAN DlSCLOSURE Quote Number: 7290891
ANNuAL PERcENTAeE RATE FiNANcE ci-iARGE Ariiiouur FrNAN`ch` " §ToTAi_` oF PA`Y`ii`iir_-N`T`s` " "
The cost of your credit as a yearly mg The dollar amount the credit will The amount of credit provided to §'l'he amount you will have paid aiter you
cost you. you or on your behalf §have made ali payments as scheduled
10.220% 31,050.38 $22,143.12§ ` $23,193.50
YOUR PAYMENT SCHEDULE W|LL BE § |TEM|zATiON bF THE AMOUNT FENANCED! THE
; - AMOUNT FlNANCED iS FOR APPt_lCATlON TO THE
Number Of Payments Amount Ot Payments jWhe“ Pallmems PREN||UMS SET FORTH iN `i'HE SCl-lEDULE OF
;Are D“B _ MGNTH|_Y_ ecuciss uNLEss orHERW:sE NoTED.
10 $21319-35 Beg'""'“g:, 04130120181

 

 

 

 

Securlty:Refer to paragraph 1 below for a description of the collateral assigned to Lender to secure this loan.
Late Charges: A late charge will be imposed on any installment in default 10 days or more. This late charge will be 5.00% of the installment due.

Prepayrnent: if you pay your account off early, you may be entitled to a refund of a portion of the hnance charge in accordance with Rute of 7B’s. See
the terms below a§nd§ on §the next §pa§§ge for additional information about nonpayment, default and penalties

` `s_oi-_ie_ouLE oi`= Poi.icies *

       

`PERcENr

freedoms ' 3 ' os/soiicis §' rioyo's LoNooN-csRTAiN uNoi-:anirs ‘ PROPERTY 25.00% . 12 23,117.00

- : ;_ MYRON F graves & co § Fee: 943.53-
§ _ § rax;i.4or.32
Broker Fee: $O.Gt)
TO'l'At.I $30,467.85

 

 

The undersigned insured directs lPFS Corporation (herein, "i_ender") to pay the premiums on the policies described on the Schedule of Policfes. in consideration
of such premium payments, subject to the provisions set forth hereinl the insured agrees to pay Lender at the branch office address shown above. or as
othenivise directed by Lender, the amount stated as Totai of Payments in accordance with the Payment Schedule. in each case as shown in the above Loan
Disclosure. The named lnsured(s), on a joint and several basis if more than one, hereby agree to the following provisions set forth on pages 'i and 2 of this
Agreement: 1. SECURiTY: To secure payment of all amounts due under this Agreement, insured assigns Lender a security interest in all right. title and interest
to the scheduled poiicies, including (but only to the extent permitted by appilcab|e iaw): (a) ali money that is or may be due insured because of a loss under any
such policy that reduces the unearned premiums (subiect to the interest of any applicable mortgagee or loss payee), (b) any unearned premium under each such
policy, (c) dividends which may become due insured in connection with any such policy and (d) interests arising under a state guarantee fund. 2. POWER OF
ATTORNEY: insured irrevocably appoints its Lender attorney-in-fact with fuli power of substitution and full authority upon default to cancel atl policies above
identified. receive all sums assigned to its Lender or in which it has granted Lender a security interest and to execute and deliver on behalf ofthe insured
documents, instrumentsl forms and notices relating to the listed insurance policies in furtherance of this Agreement.

NOT|CE: A. Do not sign this agreement before you read lt or if lt
contains any btank space. B. You are entitled to a completely filled in
copy of this agreement C. Under the law, you have the right to pay tn
advance the full amount due and under certain conditions to obtain a
partial refund of the finance charge. D. Keep your copy of this

agreement to protect your iegal rlghts.

The undersigned hereby warrants and agrees to Agent's
Representations set forth herein.

 

 

Signature of insured or Authorized Agent DATE Signature of Agent DATE

rio/in copyright 2017 iPFs corporationw regs 1 or 2 419/2018 web » rxc

 

 

 

Case 18-30849 Document 40-1 Filed in TXSB on 04/19/18 Page 4 of 6

insured and Lender further agree that: 3. POL|CY EFFECT|VE DATES: The finance charge begins to accrue from each poiicy effective date or the date on which

Lender made payment to the insurer for the financed policy, whichever ls earlier.

4. AGREEMENT EFFECT|VE DATE: Thls Agreement shall be effective upon the earlier of (a) the date when written acceptance is maited to the insured by
Lender and (b) three working days fottowing Lender's receipt of a property signed and completed Agreement unless such Agreement has been returned by
Lender to the agent/broker within such period. 5. DEFAULT AND DELINQUENT PAYMENTS: lt any of the following happens insured wl|i be in defau|t: (a} a
payment is not made when it is due, (b) a proceeding in bankruptcy, receivership, insoivency or similar proceeding is instituted by or against insured, or (c)
insured falts to keep any promise the insured makes in this Agreement; provided, however, that, to the extent required by applicable iaw. insured may be held to
be in default only upon the occurrence of an event described in ciause (a) above, The acceptance by Lender ot one or more late payments from the insured shall

not estop Lender or be a waiver of the rights of Lender to exercise ali of its rights hereunder or under applicable law in the event of any subsequent tate payment
6. CANCELLATtON: Lender may cancei the scheduled policies after providing at least 10 days notice of its intent to cancel or any other required statutory notice
if the insured does not pay any installment according to the terms of this Agreement or transfers any ofthe scheduted policies to a third party and the unpaid
balance due to Lender shaft be immediately due and payable by the tnsured. Lender at its option may enforce payment of this debt without recourse to the
security given to Lender. ?. CANCELLAT|ON CHARGES: lf cancellation occurs, the insured agrees to pay a finance charge on the outstanding indebtedness at
the maximum rate authorized by applicable state law iri efiect on the date ot canceilation until the outstanding indebtedness is paid in full or untit such other date
as required by law. 8. tNSUFFtCtENT FUNDS (NSF} CHARGES.' if lnsured's check or electronic funding is dlshonored for any reason, the insured will pay to

Lender a fee of $30.00 or the maximum amount permitted by iaw. 9. |VlONEY RECE|VED AFTER CANCELLATION: Any payments made to Lender after
Lender‘s Notice of Cancetlation ofthe insurance policy(ies) has been malied may be credited to the lnsured's account without any obligation on the part of Lender
to request reinstatement of any policy. Any money Lender receives from an insurance company shall be credited to the baiance due Lender with any surplus
refunded to whomever is ehtitted to the money. in the event that Lender does request a reinstatement of the policy(ies) on behan of the insured , such a request
does not guarantee that coverage under the poiicy(ies) will be reinstated or continued. Only the insurance company has authority to reinstate the poiicy(ies). The
insured agrees that Lender has no liability to the insured if the policy(ies) is not reinstated and tender may charge a reinstatement fee where permitted up to the
maximum amount allowed by taw. tO. ASS|GNMENT: The insured agrees not to assign this Agreement or any policy listed hereon or any interest therein (except
for the interest of mortgagees or loss payees), without the written consent of Lender, and that tender may setl, transfer and assign its rights hereunder or under
any policy without the consent ot the insured. and that atl agreements made by the insured hereunder and all rights and benefits conferred upon Lender shall
inure to the benefit of Lender‘s successors and assigns (and any assignees lhereot). 11. |NSURANCE AGENT OR BROKER: The insured agrees that the
insurance agent or broker soliciting the policies or through whom the policies were issued is not the agent of Lender; and the agent or broker named on the front
of this Agreement ls neither authorized by Lender to receive instaliment payments under this Agreement nor to make representationsf orally or in writing, to the
insured on Lender's behatf (except to the extent expressly required by appiicable law}. As and where permissible by law, Lender may compensate your
agentfbroker for assisting in arranging the financing of your insurance premiums if you have any questions about this compensation you should contact your
agent/broken 12. F|NANCiNG NCT A CONDIT|ON: The law does not require a person to enter into a premium finance agreement as a condition of the purchase
ot insurancel 13. COLLECT|CN COSTS: insured agrees to pay attorney fees and other co[iection costs to Lender to the extent permitted by taw if this Agreement
is referred to an attorney or collection agency who is not a salaried employee of Lender. to collect any money insured owes under this Agreement. (Not
applicabte in KY) 14. LlillllTATlON OF L|AB|L|TY: The insured agrees that Lender's llab|iity to the lnsured, any other person or entity for breach of any ofthe
terms of this Agreement for the wrongqu or improper exercise ot any of its powers under this Agreement shall be limited to the amount ot the principal balance
outstanding. except in the event of Lender‘ gross negligence orwilifui misconduct (not applicabte in KY). insured recognizes and agrees that i_ender is a lender
only and not an insurance company and that in no event does Lender assume any liability as an insurer hereunder or otherwise 15. CLASSiFtCAT|ON AND
FORMATEON OF AGREEN|ENT: This Agreement is and will be a generai intangible and not an instrument (as those terms are used in the Uniform Commercial
Code} for all purposes Any electronic signature cr etectronic record may be used in the formation ofthls Agreement, and the signatures of the insured and agent
and the record of this Agreement may be in electronic form (as those terms are used in the Liniform Eiectronic Transactions Actl. A photocopy, a facsimile or
other paper or etectron|c record of this Agreement shail have the same legal effect as a manualiy signed copy. 16. REPRESENTATIONS AND WARRANT|ES:
The insured represents that (a) the insured ls not insolvent or presentty the subject of any insolvency proceeding (or if the insured is a debtor of bankruptcy, the
bankruptcy court has authorized this transaction), (b) if the insured is not an individuai, that the signatory is authorized to sign this Agreement on behalf of the
insured, {c) all parties responsible for payment ct the premium are named and have signed this Agreement. and (d) there is no term or provision in any of the
scheduled policies that would require Lender to notify or get the consent of any third party to effect canceiiation of any such policy, 17. ADD|TtONAL PRElti'liUth
FiNANC|NG: insured authorizes Lenderto make additional advances under this premium finance agreement at the request of either the insured or the lnsured’s
agentwith the lnsured’s express authorizationl and subject to the approval of Lendor, for any additionai premium on any policy listed in the Scheduie of policies
due to changes in the insurabte rlsi<. if Lender consents to the request for an additionat advance, Lender wilt send insured a revised payment amount ("Revised
Payment Amount"}. insured agrees to pay the Revised Payrnent Arnount, which may include additional finance charges on the newly advanced amount. and
acknowledges that Lenderwl|i maintain its security interest in the Poiicy with futl authority to cancel ali policies and receive atl unearned premium if insured fails
tc pay the Revised Payment Amount. 18. PR|VACY.' Our privacy policy may be found at https:flwww.ipts.comlPrivacy.aspx. 19. ENT|RE DOCUMENTI
GOVERNFNG LAW: Th|s document is the entire Agreement between Lender and the insured and can onty be changed in writing and signed by both parties
except that the insured authorizes Lender to insert or correct on this Agreement. if omitted or incorrectl the insurer's name and the policy number(s). Lender is
aiso authorized to correct patent errors and omissions in this Agreement. in the event that any provision of this Agreemth is found to be l|tega| or unenforceable
it shall be deemed severed from the remaining provisions, which shall remain in tull torce and etfect. The taws of the State ot Texas witt govern this Agreement.
20. AUTHOR|ZAT|ON: The insurance company(ies) and their agents, any intermediaries and the agent l broker named in this Agreement and their successors
and assigns are hereby authorized and directed by insured to provide Lender with futl and complete information regarding atl hnanced insurance policy(ies),
including without timitation the status and calcutation ot unearned premiums, and t_ender is authorized and directed to provide such parties With fult and complete
information and documentation regarding the Hnancing of such insurance policy(ies}, including a copy of this Agreement and any related noiices. 21. WA|VER OF
SOVERIGN iMNlUN|TY; The insured expressiy waives any sovereign immunity availabte to the insured, and agrees to be sub§ect to the laws as set forth in this
Agreement (and thejurisdictlon of federal and/or state courts) for ail matters relating to the coilection and enforcement of amounts owed under this Agreement
and the security interest in the scheduled policies granted hereby.

AGENTIBROKER REPRESENTATEONS
't“he agent/broker executing this, and any tuture, agreements represents. warrants and agrees: (1) installment payments totaling $M and atl applicable down
payment(s) have been received from the insured |n immediately available tunds, {2) the insured has received a copy of this Agreement; ifthe agent/broker has
signed this Agreement on the insured's behaif, the insured has expressly authorized the agenh'broker to sign this Agreement on its behaif or, if the insured has
signed, to the best of the undersigned‘s knowledge and beiiefsuch signature is genuine, (3) the poiicies are in fuil force and effect and the information in the
Sohedu|e of Policies including the premium amounts is correctl (4} no direct company bii|. audit, or reporting form poiicies or policies subject to retrospective
rating or to minimum earned premium are inctuded, except as lndicated, and the deposit of provisionat premiums is not less than anticipated premiums to be
earned for the tuil term of the policies. (5) the poiicies can be cancelled by the insured or Lender (or its successors and assigns) on 10 days notice and the
unearned premiums witt be computed on the standard short rate or pro rata table except as indicatedl (6) there are no bankruptcyl receivership, or insolvency
proceedings affecting the lnsured, (7) to hold Lender, its successors and assigns harmless against any ioss or expense (including attorney fees) resutting from
these representations or from errors, omissions or inaccuracies of agent/broker in preparing this Agreement. (B) to pay the down payment and any funding
amounts received from Lender under this Agreement to the insurance company or generai agent (less any commissions where applicabie), (9) to hold in trust for
Lender or its assigns any payments made or credited to the insured through or to agent/broker directiy or indirectly, actualiy or constructively by the insurance
companies and to pay the monies. as weil as the unearned commissions to Lender or its assigns upon demand to satisfy the outstanding indebtriess of the
insured. (t O) alt material information concerning the insured and the Hnanced policies necessary for Lender to cancel such poticies and receive the unearned
premium has been disclosed to Lender. (11) no term or provision ot any financed poiicy requires Lender to notify or get the consent of any third party to effect
cancei|at|on of such policy, and (12) to promptiy notify Lender in writing it any information on this Agreement becomes inaccurate

(1 G/‘l`l) Copyright 2017 lPFS Corporaticn T'“' Page 2 of 2 419/2018 Web ~ TXC

 

 

 

Case 18-30849 Document 40-1 Filed in TXSB on 04/19/18 Page 5 of 6

301 wEsT11TH sT., 4a1 FLooR PREM|UNE FINANCE AGREEn.-'IENT lPFS CORPORAT|ON
Po cox 419090

KANSAS C|TY, MO 64141-6090
(800}255-63‘16 FAX: (816}942-0475
CUSTOW|ER SERV!CE: (866)412-2561

 

 

 

 

(TOTAL PRE|V|{UN|S} . (Name & Place of business) §{Name & l"-tesidence or business}
t - 'MAJOR AWARD |NC ?Bendco inc
B CASH DOWN . $3,600.00§ jDBA COASTAL GROUP & ASSOCEATES '
_pAYMENT § j 2111 R|VERS|DE DR §SO‘§ Houston Ave
‘ pR;NC{pAL BALANCE $1{),136_00§ LEAGUE ClTY.TX 7?573 jPasadena, TX 77502
7 C (A MINUS B) , :(T'§3)927-8635 FAXZ (832)354-2525 2
Cornn‘rerciat
Account #: LOAN DFSCLOSURE Quote Number: 7290261
ANNUAL PERCENTAGE RATE F|NANCE CHARGE "ANIOUNT F!NANCED ;TOTAL OF PAYlVlENTS
The COS¢ of your credit as a yearly rate_ The dollar arnount the credit will The amount of credit provided to §The amount you wilt have paid after you
cost you. you or on your benalf. ihave made all payments as scheduled
19_32(}% $485.60 $10,136.009 $10,62*§.60
YOUR PAY|'V|ENT SCi-|EDLEL_E W|LL B[_=_ 9 ETEMtZATiON OF THE AMt)UNT FlNANCED: Tt-tE
: t ANtOUN`t' FlNANCED iS FOR APPE_|CAT|ON TO THE
Numberof Paymants Arnount or Payments §Wher\ Paymenfs : PREMlurvis ser FORTH lN THE scHEouLE or
§Are Due MONTH|_Y POLEClES UNLESS OTHERWESE NOTED.
19 $1 932-16 § 999'““9“99 04/30/2013

 

 

 

 

Security: Refer to paragraph 1 below for a description of the coilaterat assigned to Lender to secure this ioan.
Late Charges: A late charge witt be imposed on any installment' ln default tO days or more. This tate charge will be 5.00% of the installment due.

Prepayment: lf you pay your account off earty, you may be entitled to a refund of a portion of the finance charge in accordance with Ru|e of 78's. See
the terms below and on the next page for additionai information about nonpaymentl default and penaltiesl

 

 

    

El-'_Fec"rlvE pATE_ scl-lEouLE o_F PoLlciEs covERAoE minimum `_' §Pob ` PREMluM
._ ;oF _F_o_l_._s_c‘_r leuRANcE _coN_l_PAnY ANp eeNERAL AGENT _ - _ ;'- ' E_A_RNEp T_ERM_ "

:_. ; - _ _ PERG_ENT __ _ - ' -
PENDJNG ‘ 03/3o/2o1s eaEAT AMERchN ALL|ANCE JNSuRANcEc EourPlleNr t o.ooo% r2 - 13.336.00
_ l MYRON F sTEvEs s co Fee: 350.00

Broker Fee: $U.OU
TOTAL: $13,736.00

 

 

The undersigned insured directs |PFS Corporatlon (herein. "L.ender"} to pay the premiums on the policies described on tile Scnedute of Poiicies. |n consideration
of such premium payments, subject to the provisions set forth here|n, the insured agrees to pay Lender at the branch office address shown above, or as
otherw|se directed by Lenderl the amount stated as Total ot Payrnents in accordance with the F='ayment Scttedule, in each case as shown in the above Loan
Disclosure. 'i'he named insured(s), on a joint and several basis if more than one, hereby agree to the toliowing provislons set forth on pages t and 2 ot this
Agreement: 1. SECUR|TY: 't'o secure payment of atl amounts due under this Agreement, insured assigns Lender a security interest in ali rignt. titie and interest
to the scheduied poticies, including (but oniy to the extent permitted by appticable law): (a) alt money that ls or may be due insured because of a tose under any
such policy that reduces the unearned premiums (subject to tne interest of any eppticable mortgagee or loss payee), (b) any unearned premium under each such
potioy. (c) dividends which may become due insured |n connection with any such poticy and (d) interests arising under a state guarantee tund. 2. POWER OF
ATTORNEY: |nsured lrrevocab|y appoints its Lender attorney~tn-fact with full power of substitution and fuli authority upon defautt to cancet all policies above
identitied, receive ali sums assigned to its Lender or in which it has granted Lender a security interest and to execute and detiver on behatfof the insured
documents, insttuments. forms and notices relating to the listed insurance policies tn furtherance of this Agreement.

NOT|CE: A. Do not s|gn this agreement before you read it or if it
contains any blank space. B. You aro entitled to a completely filled ln
copy of this agreement C. Under the lawl you have the right to pay in
advance the full amount due and under cortaln conditions to obtain a
partial refund of the finance charge. D. Keep your copy of this

agreement to protect your legal rights.

The undersigned hereby warrants and agrees to Agent‘s
Representations set forth herein.

 

Signature of lnsured or Authorizect Agent DATE Signature of Agent DATE

(101'17)Copyrigt1t 20t'! lPFS Corporation““ F'age 1 of 2 419/20t8 Web - TXC

 

 

 

 

 

Case 18-30849 Document 40-1 Filed in TXSB on 04/19/18 Page 6 of 6

insured and Lender further agree that: 3. POL|CY EFFECTlVE DATES: The finance charge begins to accrue from each policy efiectlve date or the date on which

Lender made payment to the insurer for the unanced policyl whichever is earlier.

4. AGREEN|ENT EFFECT|VE DATE: This Agreement shai| be effective upon the earlier of (a) the date when written acceptance is maited to the insured by
Lender and (b) three working days foltow|ng Lender‘s receipt of a properly signed and compieted Agreement unless such Agreement has been returned by
Lender to the agenh'broker within such period. 5. DEFAULT AND DEL|NQUENT PAYNEENTS: if any of the following happens insured w|ll be in defauit: (a) a
payment ls not made when it is due, (b) a proceeding in bankruptcy. receivership, insoivericy or simiiar proceeding is instituted by or against insured, or (c)
insured falls to keep any promise the insured makes in this Agreement; provided. however, that, to the extent required by applicable law, insured may be held to
be in defautt only upon the occurrence of an event described in clause (a) above. The acceptance by Lender of one or more late payments from the insured sha|t

not estop Lender or be a Wa|ver of the r|ghts of Lender to exercise all of its rights hereunder or under applicable taw in the event of any subsequent late payment.
6. CANCELLAT|ON: Lender may cancel the scheduled poi|cies after providing at least 10 days notice of its intent to cancei or any other required statutory notice
if the insured does not pay any installment according to the terms ofthis Agreement or transfers any of the scheduled policies to a third party and the unpaid
baiance due to Lender shaft be immediately due and payable by the insured. Lender at its option may enforce payment of this debt without recourse to the

security given to Lender. 7. CANCELLAT|ON CHARGES: if cancellation occurs, the insured agrees to pay a finance charge on the outstanding indebtedness at
the maximum rate authorized by appiicable state law ln effect on the date of cancellation untii the outstanding indebtedness is paid in full or until such other date
as required by law. B. tNSUFFiC|ENT FUNDS tNSF) CHARGES: lf insured's check or electronic funding is dishonored for any reason, the insured wilt pay to
Lender a fee of $3{).00 orthe maximum amount permitted by taw. 9. MONEY RECE|VED AFTER CANCELLAT|ON: Any payments made to Lender after
Lender‘s Notlce of Cancetlation ofthe insurance policy(ies} has been melted may be credited to the lnsured's accountwithout any obligation on the part of Lender
to request reinstatement of any policy. Any money Lender receives from an insurance company sha|i be credited to the balance due Lender with any surplus
refunded to whomever is emitted to the money. in the event that Lender does request a reinstatement ofthe policy(ies} on behalfof the insured, such a request
does not guarantee that coverage under the policy(ies) wilt be reinstated or continued Only the insurance company has authority to reinstate the poticy(ies). The
insured agrees that Lender has no iiabitity to the insured if the policy(ies) is not reinstated and Lender may charge a reinstatement fee where permitted up to the
maximum amount at|owed by iaw. 10. ASS|GNMENT: The insured agrees not to assign this Agreement or any poilcy i|sted hereon or any interest therein (except
for the interest of mortgagees or loss payees), without the written consent of Lender, and that Lender may selil transfer and assign its rights hereunder or under
any poiicy without the consent of the insured, and that a|f agreements made by the insured hereunder and atl rights and benents conferred upon Lender shall
inure to the benefit of Lender's successors and assigns (and any assignees thereof}. 11. |NSURANCE AGENT OR BROKER: The insured agrees that the
insurance agent or broker soiiciting the policies or through whom the policies were issued is not the agent of Lender; and the agent or broker named on the front
of this Agreement is neither authorized by Lender to receive installment payments under this Agreement nor to make representations oralty or in writing, to the
insured on Lender's behalf (except to the extent expressly required by applicabie iaw). As and where permissible by law, Lender rnay compensate your
agent/broker for assisting in arranging the financing of your insurance premiums if you have any questions about this compensation you should contact your
agent}broker. 12. FiNANC|NG NOT A CONDiTlON: The law does not require a person to enter into a premium finance agreement as a condition ofthe purchase
of insurance. 13. COLLECTION COSTS: insured agrees to pay attorney fees and other collection costs to i.ender to the extent permitted by law if this Agreement
is referred to an attorney or cot|ection agency who is not a salaried employee of Lenderl to cotlect any money insured owes under this Agreement. (Not
appticable iri KY) 14. L|MlTATtON OF LiABli_|TY: The insured agrees that Lender's iiability to the insured, any other person or entity for breach of any of the
terms of this Agreement for the wrongful or improper exercise of any of its powers under this Agreement shalt be iimited to the amount of the principal batance
outstanding. except in the event of i_ender' gross negligence or willful misconduct (not appticable in KY). insured recognizes and agrees that Lender is a lender
onty and not an insurance company and that in no event does Lender assume any iiabillty as an insurer hereunder or otherwisel 15. CLASStF|CAT|ON AND
FORMATION CF AGREEMENT: `t'his Agreement is and witt be a general intangible and not an instrument (as those terms are used in the Uniform Comrnercial
Code) for all purposesl Any electronic signature or electronic record may be used in the formation of this Agreement. and the signatures of the insured and agent
and the record of this Agreement may be in eiectronic form (as those terms are used in the Uniform Electronic Transactions Act). A photocopy, a facsimile or
other paper or etectronic record of this Agreement shalt have the same legal effect as a manuatly signed copy. 16. REPRESENTAT|ONS AND WARRANT|ES:
The insured represents that (a) the insured ls not insolvent or presently the subject of any insolvency proceeding (or if the insured ls a debtor of bankruptcy. the
bankruptcy court has authorized this transaction), (b) if the insured ls not an individuat, that the signatory is authorized to sign this Agreement on behalf ofthe
insured, (c) ali parties responsible for payment of the premium are named and have signed this Agreement. and (d) there is no term or provision in any of the
scheduled policies that woutd require Lender to notify or get the consent ofariy third party to effect canceliation ofany such policy. 17. ADD|T|ONAL PREMlUNi
F|NANC|NG: insured authorizes Lender to make additional advances under this premium finance agreement at the request of either the insured or the lnsured’s
agentvvith the lnsured’s express authorization, and subject to the approval of Lender. for any additional premium on any policy listed in the Schedute of Po|icies
due to changes ln the insurabie risk. lf Lender consents to the request for an additional advance, Lender wli| send [nsured a revised payment amount {"Revised
t°ayment Amount"). insured agrees to pay the Revised Payment Amount, which may include additional finance charges on the newly advanced amount, and
acknowledges that Lender wilt maintain its security interest in the Po|icy With full authority to cancei atl poiicies and receive alt unearned premium if insured fails
to pay the i'-tevised PaymentArnount. 18. PRlVACY: Our privacy poiicy may be found at https:flwww.ipfs.comfPrivacy.aspx. 19. ENT|RE DOCU|VIENT!
GOVERN!NG LAW: Th|s document is the entire Agreement between Lender and the insured and can only be changed in writing and signed by both parties
except that the insured authorizes i_ender to insert or correct ori this Agreement, if omitted or incorrect, the insurer's name and the policy number(s). Lender is
also authorized to correct patent errors and omissions in this Agreement. |n the event that any provision of this Agreement is found to be illegal or unenforceable
it shali be deemed severed from the remaining provisions, which shail remain in fuil force and effect. The iaws of the State of Texas will govern this Agreement.
20. AUTHOR|ZAT|ON: The insurance company(ies) and their agents. any intermediaries and the agentl broker named in this Agreement and their successors
and assigns are hereby authorized and directed by insured to provide Lender with fu|t and comptete information regarding ali financed insurance poiicy(ies).
including without limitation the status and calculation of unearned premiums, and Lender is authorized and directed to provide such parties with iu|| and compiete
information and documentation regarding the financing of such insurance policy(ies), inciudfng a copy of this Agreement and any related notices. 21. WA|VER OF
SOVER|GN iltill'i*lUNiTY: The insured expressly waives any sovereign immunity avaiiable to the insured, and agrees to be subject to the iaws as set forth in this
Agreement (and the jurisdiction of federai and/or state courts) for ali matters rotating to the collection and enforcement of amounts owed under this Agreement
and the security interest ln the scheduted policies granted hereby.

AGENT!BROKER REPRESENTATIONS
The agent/broker executing thls, and any future, agreements represents, warrants and agrees: (‘i) instailment payments totaiing $Q._QQ and all applicabie down
payment(s} have been received from the insured in immediately avaiiahte iunds, (2) the insured has received a copy of this Agreement; lf the agent/broker has
signed this Agreement on the insured's beha|f, the insured has expressfy authorized the agent/brokerto sign this Agreement on its behalf or. if the insured has
signed, to the best ofthe undersigned's knowledge and belief such signature is genuine, (3) the policies are in full force and effect and the information in the
Schedule of Policies including the premium amounts is correct, (4) no direct company bi||. audit, or reporting form policies or policies subject to retrospective
rating or to minimum earned premium are includedl except as indicated, and the deposit of provisional premiums is not less than anticipated premiums to be
earned for the tuil term of the poticies, (5) the policies can be cancelled by the lnsured or Lender (or its successors and assigns) on 10 days notice and the
unearned premiums witt be computed on the standard short rate or pro rotatable except as indicated. (6) there are no bankruptcy, receiversh|p, or insolvency
proceedings affecting the insured, (7) to hold Lender, its successors and assigns harmiess against any loss or expense (inciuding attorney fees) resulting from
these representations or from errors. omissions or inaccuracies of agent/broker in preparing this Agreement, {8) to pay the down payment and any funding
amounts received from Lender under this Agreement to the insurance company or general agent (tess any commissions where appticable). (9) to hold in trust for
Lender or its assigns any payments made or credited to the insured through or to agent/broker directly or indirectlyl actually or constructively by the insurance
companies and to pay the monies, as well as the unearned commissions to Lender or |ts assigns upon demand to satisfy the outstanding indebtness of the
insured, (10} atl materiai information concerning the insured and the financed poiicies necessary for Lender to cancel such policies and receive the unearned
premium has been disclosed to Lender. (t'l) no term or provision of any financed policy requires Lender to notify or get the consent of any third party to effect
canceliation otsuch policy. and (12} to promptly notify Lender in writing if any information on this Agreement becomes inaccurate

(10/1?) Copyright 2017 tPFS Corporatlon"“ Page 2 of 2 419/2018 Web - TXC

 

 

